                       Case 1:23-cv-09842-VEC Document 6 Filed 11/08/23 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District
                                                   __________  DistrictofofNew York
                                                                            __________

 JAVIER ALEJANDRO DIAZ PLAZA, CESAR LUIS                            )
     REGENTE MARIA, RIGOBERTO MARIA                                 )
   CRISTOBAL, and GUADALUPE SEBASTIAN                               )
SORIANO JIMENEZ, individually and on behalf of all
                                                                    )
            others similarly situated
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
   PERFECTO PIZZERIA CORPORATION d/b/a                              )
 LUNETTA PIZZA & RESTAURANT and 1638 PIZZA                          )
 CORPORATION d/b/a IL CANTUCCIO PIZZERIA &                          )
 RESTAURANT, HESHAM AHMED, as an individual                         )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                           Roman Avshalumov, Esq.
                                           80-02 Kew Gardens Road, Suite 601
                                           Kew Gardens, NY 11415



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             11/08/2023                                                                    /S/ V. BRAHIMI
                                                                                         Signature of Clerk or Deputy Clerk
                        Case 1:23-cv-09842-VEC Document 6 Filed 11/08/23 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
        Case 1:23-cv-09842-VEC Document 6 Filed 11/08/23 Page 3 of 3




                                       RIDER TO SUMMONS

                            Civil Case No.: _______________________

                                  FULL COMPLAINT CAPTION:

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X        Civil Case No.:
JAVIER ALEJANDRO DIAZ PLAZA, CESAR LUIS
REGENTE MARIA, RIGOBERTO MARIA CRISTOBAL,
and GUADALUPE SEBASTIAN SORIANO JIMENEZ,                                      COLLECTIVE ACTION
individually and on behalf of all others similarly situated,                     COMPLAINT
                                                Plaintiffs,
                                                                                  JURY TRIAL
            -against-                                                             DEMANDED
PERFECTO PIZZERIA CORPORATION d/b/a LUNETTA
PIZZA & RESTAURANT and 1638 PIZZA
CORPORATION d/b/a IL CANTUCCIO PIZZERIA &
RESTAURANT, and HESHAM AHMED, as an individual,

                                                Defendants.
--------------------------------------------------------------------------X

Via Personal Service:
PERFECTO PIZZERIA CORPORATION d/b/a LUNETTA PIZZA & RESTAURANT
1162 1st Ave., Frnt 1, New York, NY 10065
1638 PIZZA CORPORATION d/b/a IL CANTUCCIO PIZZERIA & RESTAURANT
1638 3rd Ave., New York, NY 10128

HESHAM AHMED
1162 1st Ave., Frnt 1, New York, NY 10065
1638 3rd Ave., New York, NY 10128


Service via Secretary of State:
PERFECTO PIZZERIA CORPORATION d/b/a LUNETTA PIZZA & RESTAURANT
(DOS ID# 4203032)
20-24 Ranford Place, Suite 605, Newark, NJ 07102
1638 PIZZA CORPORATION d/b/a IL CANTUCCIO PIZZERIA & RESTAURANT
(DOS ID# 6584035)
1638 3rd Ave., New York, NY 10128


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